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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND


                        MEMORANDUM OPINION AND ORDER


           Disposition in this matter was previously scheduled for

November 28, 2007.       Title 18 U.S.C. § 3596(a) provides as

follows:

     A person who has been sentenced to death pursuant to
     this chapter shall be committed to the custody of the
     Attorney General until exhaustion of the procedures for
     appeal of the judgment of conviction and for review of
     the sentence. When the sentence is to be implemented,
     the Attorney General shall release the person sentenced
     to death to the custody of a United States marshal, who
     shall supervise implementation of the sentence in the
     manner prescribed by the law of the State in which the
     sentence is imposed. If the law of the State does not
     provide for implementation of a sentence of death, the
     court shall designate another State, the law of which
     does provide for the implementation of a sentence of
     death, and the sentence shall be implemented in the
     latter State in the manner prescribed by such law.

18 U.S.C. § 3596(a).       The parties appeared to contemplate in

their pre-disposition filings that the court would, during

disposition, designate the state, and thus the execution

protocol, that would ultimately result in implementation of the

sentence imposed.
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           The government’s sentencing memorandum observes that

West Virginia does not impose or implement capital sentences.

Pursuant to section 3596(a), the government requests that the

court designate Indiana as the state of implementation, with

sentence executed at the federal penitentiary in Terre Haute, the

facility it contends is designated by the Bureau of Prisons for

individuals convicted of federal capital crimes.


           In response, defendant Friend, joined by defendant

Lecco, notes the existence of “the lethal injection execution

chamber built by the Bureau of Prisons” at Terre Haute.                 (Def.

Friend’s Resp. at 1).        In view of this apparent manner of

execution used at Terre Haute, defendants “request[] that the

Court defer sentencing until such time as the constitutionality

of lethal injection is decided by the United States Supreme

Court.” (Id. at 1).


           As noted by defendants, the Supreme Court presently has

under consideration whether the method of execution commonly

known as lethal injection is consistent with constitutional

requirements.        See Baze v. Rees, 128 S.Ct. 34, amended, 128 S.Ct.

372 (2007).    Indeed, the Supreme Court has granted stays of

execution in cases involving lethal injection challenges since

its grant of certiorari in Baze.            See, e.g., Berry v. Epps, No.

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07-7348, 2007 WL 3156229, at *1 (U.S. Oct. 30, 2007); Emmett v.

Johnson, No. 07A304, 2007 WL 3018923, at *1 (U.S. Oct. 17, 2007).


           Having considered the parties’ respective arguments,

and inasmuch as the issue is one of significance, the court

ORDERS that the dispositions in these actions be, and they hereby

are, stayed pending the entry of a decision in Baze by the

Supreme Court.


           The Clerk is directed to forward copies of this written

opinion and order to the defendants, all counsel of record, the

United States Probation Officer, and the United States Marshal.

                                    DATED: January 15, 2008


                                    John T. Copenhaver, Jr.
                                    United States District Judge




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